                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION
                                 No. 7:23-cv-01065-FL

  RENEE FERREE, as parent and Guardian ad Litem
  for and on behalf of minor U.K., and U.K., a minor,

                                 Plaintiffs,

         v.                                                       PROTECTIVE ORDER

  AMAZON.COM, INC., a foreign corporation, and
  AMAZON.COM SERVICES, LLC, a
  foreign limited liability company,

                                 Defendants.

         Plaintiffs and Defendants contemplate that discovery will involve information and

 documents that contain personal medical and financial information, trade secrets, proprietary or

 competitively sensitive financial and business information, and other private or confidential

 information. Plaintiffs and Defendants request entry of this stipulated protective order to

 establish procedures to enable the parties to obtain discovery of such information and

 documents; to protect against public disclosure; and to promptly resolve disputes over

 confidentiality. [As described further by the court on Page 11, this protective order is issued

 pursuant to the April 29, 2024 order [D.E. 28] granting defendants’ motion for protective order.]*

       The Court hereby orders:

       1.       Scope and Application of Protective Order. This Protective Order governs all

documents, information, or other material that is designated “Confidential Information” as

defined herein, and that is produced in connection with this litigation by any person or entity (the

“producing party”) to any other person or entity (the “receiving party”), regardless of whether

the person or entity producing or receiving the Confidential Information is a party.
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       2.        Definitions.

                 2.1.   Confidential Information. “Confidential Information” means any

information that is private, confidential, or proprietary, including the following representative but

non-exclusive examples:

             •    personally identifiable information

             •    medical records

             •    taxes and other financial records

             •    accounting or financial statements (not including publicly available financial

                  statements)

             •    trade secrets

             •    commercial, financial, pricing, budgeting, revenue, profit, or accounting

                  information

             •    information about existing and potential customers

             •    marketing studies and projections

             •    business strategies, decisions, or negotiations

             •    compensation, evaluations, and employment information

             •    proprietary information about affiliates, parents, subsidiaries, and third-parties

                  with whom the parties have or have had business relationships

             •    any other information whose disclosure could cause an invasion of privacy or

                  competitive business harm.

       A protective order is warranted because Confidential Information derives value from not

being publicly known, and public disclosure could lead to serious and unwarranted injury.


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               2.2.    Documents. The term “documents” includes all information or

communications in any written or electronic form, regardless of format, and includes visual

depictions such as photographs.

       3.      Designation of Confidential Information.

               3.1.     Good Faith Claims. All claims of confidentiality and objections to those

claims must be made under a good faith belief that the information satisfies (or, in the case of

objections, does not satisfy) the definition of Confidential Information.

               3.2.     Produced Documents. A party producing documents that it believes

constitute or contain Confidential Information shall label the documents with the following

legend or something substantially similar to clearly advise of the confidential nature of the

contents:

                CONFIDENTIAL: Subject to Protective Order in Case No. 7:23-cv-

        01065-FL in the United States District Court for the Eastern District of North

        Carolina


       The label shall not obliterate or obscure the contents. If a document containing

Confidential Information is produced in native format, the file name shall contain the term

“Confidential,” “Confidential Information,” or otherwise clearly indicate that it contains

information subject to this Order. If any person or party makes copies of documents designated as

containing Confidential Information, each copy must be marked as containing Confidential

Information in the same form as the original document.

       A party producing documents that are stored on data storage devices shall designate the

data storage device as containing Confidential Information, by labeling the data storage device


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and files as described above. If the receiving party or other persons or entities to whom

disclosure is authorized under this order make a copy of any data storage device designated by

the producing party as containing Confidential Information, the receiving party or other

authorized person shall mark each copy as containing Confidential Information in the same form

as the notice on the original data storage device. If the receiving party or other authorized person

prints or makes copies of the documents stored on such data storage device, each page must be

copied with the label specified in this section.

               3.3.      Interrogatory Answers. If a party answering an interrogatory believes

that its answer contains Confidential Information, it shall answer in a separate document that is

designated as Confidential Information.

               3.4.      Inspections of Documents. If the parties inspect documents rather than

produce copies, no designation of Confidential Information needs to be made before the

inspection. The party making documents available for inspection may designate categories of

documents that contain Confidential Information, and the information contained in those

documents shall be considered Confidential Information under this Order. If the inspecting party

selects documents to be copied, the producing party shall designate Confidential Information

when the copies are produced.

               3.5.      Deposition Transcripts. No person except those permitted access to

Confidential Information by this Order can attend depositions when Confidential Information is

disclosed. Within 30 days after receiving a deposition transcript, a party may inform the other

parties if the transcript or portions of it are designated as Confidential Information. If a party

indicates at a deposition that the Confidential Information has been disclosed in the deposition,

the transcript in its entirety shall be treated as Confidential Information for the 30 days. All

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persons and parties in possession of a copy of a designated deposition transcript shall

appropriately mark it as containing Confidential Information.

               3.6.     Multipage Documents. A party may designate all pages of an integrated,

multipage document as Confidential Information by placing the label specified in subparagraph

3.2 on the first page of the document. If a party wishes to designate only certain portions of an

integrated, multipage document as Confidential Information, it should designate such portions

immediately below the label on the first page of the document and place the labels specified in

subparagraph 3.2 on each page of the document containing Confidential Information.

       4.      Designations by Another Party.

               4.1.    Notification of Designation. If a party other than the producing party

believes that a producing party has produced a document that contains or constitutes Confidential

Information of the non-producing party, the non-producing party may designate the document as

Confidential Information by notifying all parties in writing within 30 days of service of the

document.

               4.2.    Return of Documents. Whenever a party other than the producing party

designates a document as Confidential Information under subparagraph 4.1, each party receiving

the document shall either add the Confidential Information designation or substitute a copy of the

document bearing such designation for each copy of the document produced by the producing

party. Each party shall destroy all undesignated copies of the document or return those copies to

the producing party, at the direction of the producing party.

       5.      Objections to Designations.

               5.1.    Notice of Objection.   Any party objecting to a designation of Confidential

Information, including objections to portions of designations of multipage documents, shall

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notify the designating party and all other parties of the objection in writing. This notice must

identify each document that the objecting party in good faith believes should not be designated as

Confidential Information and provide a brief statement of the grounds for such belief.

               5.2.      Conference Regarding Objection. The parties with an interest in resolution

of the objection shall confer after such objection to attempt to resolve their differences, unless the

parties agree to a longer time. If the parties cannot resolve their differences, the objecting party

shall have 14 days after the conference to file a motion to remove the Confidential Information

designation. The party claiming confidentiality retains the burden of proving that the documents

are entitled to confidential treatment.

               5.3.      Treatment after Objection Is Raised. All documents, information and

other materials initially designated as Confidential Information shall be treated as Confidential

Information in accordance with this Order unless and until the Court rules otherwise. If the Court

rules that a Confidential Information designation should not be maintained as to a particular

document, the producing party shall, upon written request by a party, provide that party a copy of

that document without the Confidential Information designation.

       6.      Custody. All Confidential Information and all copies, extracts, and summaries

thereof, shall be retained by the receiving party in the custody of counsel of record, or by persons

to whom disclosure is authorized under subparagraph 7.1.

       7.      Handling of Confidential Information Before Trial.

               7.1.      Authorized Disclosures. Confidential Information shall be disclosed by

the receiving party only to the following persons:

       a.      Counsel for the parties, including their associates, clerks, paralegals, and

secretarial personnel;

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       b.       Qualified persons taking testimony in this litigation involving such Confidential

Information, and necessary stenographic, videotape and clerical personnel;

       c.       Deposition and trial witnesses;

       d.       Experts and their staff who are consulted by counsel for a party in this litigation;

       e.       Parties and their employees and insurers with a discernible need to know;

       f.       In-house counsel and paralegals;

       g.       Vendors employed by counsel for copying, scanning, and handling of documents

and data; and

       h.       The Court hearing this litigation and the Court’s staff, subject to the Court’s

processes for filing materials under seal.

       Such disclosures are authorized only to the extent necessary to investigate, prosecute, or

defend the litigation.

                7.2.     Acknowledgement of Protective Order. Confidential Information may not

be disclosed to persons under subparagraphs 7.1(c) or 7.1(d) until the receiving party has

obtained a written acknowledgment from such person, in the form in Appendix A, that he or she

has received a copy of this Order and has agreed to be bound by it. A party who discloses

Confidential Information in accordance with subparagraphs 7.1(c) or 7.1(d) shall retain the

written acknowledgment from each person receiving Confidential Information, shall maintain a

list of all persons to whom a receiving party has disclosed Confidential Information, and shall

furnish the written acknowledgements and disclosure list to the Court for in camera review upon

its request. Furnishing the written acknowledgements and disclosure list to the Court shall not

constitute a waiver of the attorney work product or attorney-client privilege.



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               7.3.    Disclosure to Competitors. Before disclosing Confidential Information to

any authorized person who is a competitor (or an employee of a competitor) of the designating

party, the party wishing to make such disclosure shall give at least 14 days’ notice in writing to

the designating party, stating the names and addresses of the person(s) to whom the disclosure

will be made, and identifying with particularity the documents to be disclosed. If, within the 14-

day period, a motion is filed objecting to the proposed disclosure, disclosure is not authorized

until the Court orders otherwise. For purposes of this Order, “competitor” means any person or

entity that operates any online or physical marketplace or retail business with more than 1,000

employees.

               7.4.    Unauthorized Disclosures. All persons receiving Confidential Information

under the terms of this Order agree to the jurisdiction of this Court for all matters arising from

the improper disclosure or use of such Confidential Information. If Confidential Information is

disclosed to any person other than in the manner authorized by this Order, the party or person

responsible for the disclosure, and any other party or person who is subject to this Order and

learns of such disclosure, shall immediately bring such disclosure to the attention of the

designating party. Without prejudice to other rights and remedies of the designating party, the

responsible party or person shall make every effort to retrieve the Confidential Information and to

prevent further disclosure.

               7.5.    Court Filings. Each time a party seeks to file under seal confidential

documents, things, and/or information, said party shall accompany the request with a motion to

seal and a supporting memorandum of law specifying (a) the exact documents, things, and/or

information, or portions thereof, for which filing under seal is requested; (b) where it is

necessary for the court to determine the source of the public’s right to access before a request to

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seal may be evaluated, whether any such request to seal seeks to overcome the common law or

the First Amendment presumption to access; (c) the specific qualities of the material at issue

which justify sealing such material, taking into account the balance of competing interests in

access; (d) the reasons why alternatives to sealing are inadequate; and, (e) whether there is

consent to the motion. Finally, in addition to the motion and supporting memorandum, said party

must set out such findings in a proposed order to seal for the court.

         8.    Care in Storage. All persons having Confidential Information shall exercise

reasonable care to protect against inadvertent disclosure, disclosure to unauthorized persons, and

theft or hacking.

         9.    Handling during Trial. Confidential Information that is subject to this Order may

be marked and used as trial exhibits by any party, subject to terms and conditions imposed by the

Court.

         10.   No Implied Waivers. entry of this Order shall not be interpreted as a waiver of

the right to object to the furnishing of information or documents in response to discovery

requests or to object to a requested inspection of documents or facilities. Nor is production of any

document or information under this Order an admission that it is admissible in evidence.

         11.   Inadvertent Failure to Designate as Confidential. The inadvertent failure to

designate any information as Confidential does not waive a party’s claim of confidentiality. In

the event of disclosure of such information, the information shall be designated as Confidential

Information by the party as soon as reasonably possible after learning of the disclosure and such

information shall thereafter be treated as Confidential Information subject to this Order. No

liability shall attach to any party’s use or disclosure of such information from the time of receipt

until the party properly designates it as Confidential Information.

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        12.    Inadvertent Disclosure of Privileged Documents or Information. If a party

inadvertently produces a document or information that it could have withheld, in whole or in part,

under a legitimate claim of privilege, the inadvertent production shall not waive any privilege or

result in a subject matter waiver.

        A party who determines that it may have received potentially privileged documents or

information shall immediately notify the producing party.

        A producing party may demand return of any inadvertently produced document or

information, and the receiving party shall immediately return them (and any copies thereof) and

delete all electronic versions and all notes or other work product reflecting the contents of such

material. Alternatively, the receiving party may seek in camera review within 10 days to obtain a

court ruling on privilege, and the parties shall not use such documents or information until the

court rules.

        13.    Parties’ Own Documents. This Order does not restrict the parties in their use or

disclosure of their own documents and information.

        14.    Motion to Compel Production of Confidential Information. If any third party

moves to compel production of Confidential Information, the party subject to such motion shall

immediately notify the parties who originally produced or designated the Confidential

Information to allow them an opportunity to oppose the motion. In addition, if a party is ordered

to produce Confidential Information covered by this Order, notice and, if available, a copy of the

order compelling disclosure, shall immediately be given to the parties who originally produced

or designated such Confidential Information. Nothing in this Order requires the party who is

ordered to produce such Confidential Information to challenge or appeal such an order.

        15.    No Effect on Other Rights. This Order does not abrogate or affect any pre-

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existing contractual, statutory, or other legal obligations or rights of any party with respect to

Confidential Information.

       16.     Handling upon Conclusion of Litigation. All parties, counsel, and persons to

whom disclosure was made shall return all Confidential Information to the designating party

within 90 days of the conclusion of litigation. Counsel shall certify in writing that all such

Confidential Information has been returned. Counsel for each party also shall contact each

person to whom that party has provided a copy of any Confidential Information and request the

documents be returned. In lieu of returning Confidential Information, the person or party

possessing it may destroy it and certify such destruction in writing.

       17.     Retention of File Materials by Counsel. Notwithstanding Paragraph 16, in order

to comply with ethics and malpractice insurance requirements, counsel shall be permitted to

retain, subject to the continuing application of this protective order, confidential materials and

information within counsel’s file including all attorney work-product; depositions and exhibits;

motions, responses, replies, and exhibits; hearing and trial transcripts and exhibits; and pretrial

and trial disclosures and filings.

         This 29th day of April, 2024.*


                                               _______ _________________
                                               Brian S. Meyers
                                               United States Magistrate Judge

         *This order contains the verbatim language of the proposed protective order [D.E. 20-2]
attached to defendants’ motion for protective order. As confirmed during the telephonic hearings
on March 19 and 26, 2024, the parties agreed with one another regarding the language of the
proposed protective order [D.E. 20-2], and to the language of Appendix A attached hereto. The
dispute between the parties arose regarding additional language that plaintiffs sought to add. For
the reasons discussed in the court’s April 29, 2024 order [D.E. 28], plaintiffs’ additional language
is not included herein.


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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION
                                 No. 7:23-cv-01065-FL

 RENEE FERREE, as parent and Guardian ad Litem
 for and on behalf of minor U.K., and U.K., a minor,

                               Plaintiffs,

        v.

 AMAZON.COM, INC., a foreign corporation, and
 AMAZON.COM SERVICES, LLC, a
 foreign limited liability company,

                               Defendants.

                                             APPENDIX A

        I hereby attest that I understand that information or documents designated as Confidential

Material are provided to me subject to the Order dated April 29, 2024 [D.E. 29] (the “Order”), in

the above-captioned litigation (“Litigation”); that I have been given a copy of and have read the

Order; that I am qualified to receive the Confidential Materials; and that I agree to be bound by

the terms of the Order. I also understand that my signature below indicates my agreement to be

bound by the Order and is a prerequisite to my review of any information or documents

designated as Confidential Material pursuant to the Order.

        I further agree and attest to my understanding that, if I fail to abide by the terms of the

Order, I may be subject to sanctions, including contempt of court, for such failure. I agree to be

subject to the jurisdiction of the above-identified Court for the purposes of any proceedings

relating to enforcement of the Order.

Date:

By:




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